                    CASE 0:18-cv-00279-WMW-SER Document 3 Filed 01/31/18 Page 1 of 6

AO 440 (Rev. 02/09) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Minnesota


Patricia Mengesha,

                                                    Plaintiff,

v.                                                                         Case No. 0:18−cv−00279−WMW−SER

Bitconnect International PLC, et al.,

                                                    Defendant.




                                                   SUMMONS IN A CIVIL ACTION

To: Bitconnect International PLC


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Robert K Shelquist
                                     100 Washington Ave S Ste 2200
                                     Mpls, MN
                                     55401−2179

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

RICHARD D. SLETTEN, CLERK OF                                     By:
COURT




                                                                       Katie Thompson


Date of Issuance: January 31, 2018
                    CASE 0:18-cv-00279-WMW-SER Document 3 Filed 01/31/18 Page 2 of 6

AO 440 (Rev. 02/09) Summons in a Civil Action



                                                Summons and Complaint Return of Service
                                                                        Case No. 0:18−cv−00279−WMW−SER



A copy of the Summons and Complaint has been served in the manner indicated below:

Name of Defendant Served:                            Bitconnect International PLC

Date of Service:



                                                             Method of Service

         Personally served at this address:




         Left copies at defendant's usual place of abode with (name of person):




         Other (specify):




         Returned unexecuted (reason):




Service Fees:                  Travel $              Service $          Total $



                                                           Declaration of Server

I declare under the penalty of perjury that the information contained in this Return of Service is true and correct.

Name of Server:

Signature of Server:

Date:

Server's Address:
                    CASE 0:18-cv-00279-WMW-SER Document 3 Filed 01/31/18 Page 3 of 6

AO 440 (Rev. 02/09) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Minnesota


Patricia Mengesha,

                                                    Plaintiff,

v.                                                                         Case No. 0:18−cv−00279−WMW−SER

Bitconnect International PLC, et al.,

                                                    Defendant.




                                                   SUMMONS IN A CIVIL ACTION

To: Bitconnect LTD


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Robert K Shelquist
                                     100 Washington Ave S Ste 2200
                                     Mpls, MN
                                     55401−2179

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

RICHARD D. SLETTEN, CLERK OF                                     By:
COURT




                                                                       Katie Thompson


Date of Issuance: January 31, 2018
                    CASE 0:18-cv-00279-WMW-SER Document 3 Filed 01/31/18 Page 4 of 6

AO 440 (Rev. 02/09) Summons in a Civil Action



                                                Summons and Complaint Return of Service
                                                                      Case No. 0:18−cv−00279−WMW−SER



A copy of the Summons and Complaint has been served in the manner indicated below:

Name of Defendant Served:                            Bitconnect LTD

Date of Service:



                                                            Method of Service

         Personally served at this address:




         Left copies at defendant's usual place of abode with (name of person):




         Other (specify):




         Returned unexecuted (reason):




Service Fees:                  Travel $              Service $        Total $



                                                          Declaration of Server

I declare under the penalty of perjury that the information contained in this Return of Service is true and correct.

Name of Server:

Signature of Server:

Date:

Server's Address:
                    CASE 0:18-cv-00279-WMW-SER Document 3 Filed 01/31/18 Page 5 of 6

AO 440 (Rev. 02/09) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Minnesota


Patricia Mengesha,

                                                    Plaintiff,

v.                                                                         Case No. 0:18−cv−00279−WMW−SER

Bitconnect International PLC, et al.,

                                                    Defendant.




                                                   SUMMONS IN A CIVIL ACTION

To: Bitconnect Trading LTD


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Robert K Shelquist
                                     100 Washington Ave S Ste 2200
                                     Mpls, MN
                                     55401−2179

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

RICHARD D. SLETTEN, CLERK OF                                     By:
COURT




                                                                       Katie Thompson


Date of Issuance: January 31, 2018
                    CASE 0:18-cv-00279-WMW-SER Document 3 Filed 01/31/18 Page 6 of 6

AO 440 (Rev. 02/09) Summons in a Civil Action



                                                Summons and Complaint Return of Service
                                                                       Case No. 0:18−cv−00279−WMW−SER



A copy of the Summons and Complaint has been served in the manner indicated below:

Name of Defendant Served:                            Bitconnect Trading LTD

Date of Service:



                                                            Method of Service

         Personally served at this address:




         Left copies at defendant's usual place of abode with (name of person):




         Other (specify):




         Returned unexecuted (reason):




Service Fees:                  Travel $              Service $         Total $



                                                          Declaration of Server

I declare under the penalty of perjury that the information contained in this Return of Service is true and correct.

Name of Server:

Signature of Server:

Date:

Server's Address:
